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               Standard Operating Procedures (SOPs) for the Communications Unit


                                    Roles and Responsibilities
                                             Version 1.6




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                                      Resettlement Support Center Latin America (RSC LA)




                                   SOP for the Communications Unit – Version 1.6




   Purpose: The Purpose of this SOP is to clearly define the duties and areas of responsibility for the Communications unit in
                     Central America as part of the Resettlement Support Center (RSC), Latin America.

                                              Electronic Version can be found at:
                                 RSC LA Communication SOP version 1.5-Jul 2017.docx




               Principal writer: Project Officer, Compliance, Communications and Cultural Orientation
                                Principal approver: RSC Latin America Project Manager




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                                           Document Change and Review History




       This handbook is a document that is amended to reflect an up-to-date overview of the roles and responsibility of
                     RSC LA staff as well as changes in policy and SOPs related to expedited case processing.



                                                   Document Change History




  Version #      Date of Release     Section(s) Revised       Description of       Coordinated With            Approved By
                                                                Revision

      1.5      July 20, 2017        Unable to Contact,                                  Project Officer
                                    Reports




      1.6      Sept 25, 2017        UTC 3rd time


1.6           Sept 25, 2017         Reports:              Changes in          Project Officer,
                                    -Amended AOR          frequency of review Case Management
                                    -Pregnancy Add on     reports, who
                                    Baby                  updates/removes H
                                   -Missing Docs
                                                          and CARs




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     This SOP is a living document and regularly updated. It is reviewed each fiscal year to ensure the information
      contained herein is current. The table below identifies the year, names of reviewers, and date approved.




                                                    Yearly Review History


         Fiscal Year             Team Reviewer            Senior Management Reviewer             Final Approval Date




                                                   Documents Referenced

Version 1 Fiscal Year 2017:

    1.    USRAP Overseas Processing Manual, USRAPM-001-2014, October 1, 2014
    2.    PRM Program Announcements:
              a. Program Announcement 2012-02, Expedited Protection and Resettlement Fact Sheet
              b. Program Announcement 2012-02, Fact Sheet on Expedited Protection and Resettlement Attachment, Oct
                 24, 2011.
              c. Program Announcement 2013-01, Capturing Threat Information in WRAPS, Nov. 19, 2012
              d. Program Announcement ETC 2015 – 10 – rev, August 10, 2015
              e. Program Announcement 2008-07 Revised Six Business Day Notification Requirement for Refugee Travel
    3.    RPC SOPs, :
              a) SOP-OP-RSC002-v1 17 - Pre-screening
              b) SOP-OP-RSC007-v1 4 Assurance and Allocation,
              c) SOP-OP-RSC004-v2 10 - Security




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        Introduction

        Resettlement Support Center, Latin America (RSC LA) plays a key role in ensuring the integrity of the
        US refugee Admissions Program (USRAP) and in guarding against internal malfeasance in the
        processing of Central American Minors for resettlement. This internal Standard Operating Procedure
        (SOP) is aimed to enforce the implementation of the below compulsory guidelines and maintain
        clear communication between implementing partners, the Resettlement Agencies, and beneficiaries.

             •       PRM Program Integrity Guidelines
             •       PRM Guidelines for the Treatment of Refugee Records
             •       PRM Notice on Confidentiality of Personal Information
             •       IOM IN/70 Fraud Awareness and Prevention Guidelines
             •       IOM IN/142 - Policy on Reporting Irregular Practices, Wrongdoing and Misconduct

        Objectives of this SOP
           •        Maintaining quality, high standards and strict adherence to the PRM and IOM guidelines
                    mentioned above
           •        Explain the processing procedures for registering incoming and outgoing communication
                    with RSC applicants
           •        Explain procedures to communicate with the different units in RSC LA
           •        Explain procedures to establish communication and information flow between RSC LA
                    and Resettlement Agencies (RA)

        Confidentiality
        IOM staff is required to maintain the highest level of professionalism, integrity and confidentiality
        while communicating with applicants or processing refugee records. IOM staff are reminded to use
        the PRM and IOM guidelines on confidentiality as a reference on a daily basis. The main guidelines
        relevant to confidentiality are:
            • PRM Program Integrity Guidelines
            • PRM Guidelines for the Treatment of Refugee Records

        Points to remember to maintain confidentiality
            • Principal Applicants (PA), Anchors, Authorized Point Contact, and Guardians are the only
                individuals eligible to receive case specific information from RSC. Other individuals, including
                the PA’s family or friends, will not be given any information about the case.
            • Other individuals or entities including implementing partners, RAs, government or non-
                government officials inquiring about cases must be referred to the RSC LA Information Unit,
                copying RSC LA Management. RSC staff is required to inform the Project Manager or the
                Deputy Project Manager regarding any external inquiries received. In cases when there are
                unusual requests, before responding, these inquiries should be flagged and an email should
                be sent to the Deputy Manager and Manager for instruction with the Communications Focal
                Point and Project Officer in copy.

             •   Verification of identity is a mandatory procedure to maintain confidentiality and is an initial
                 step before providing any case specific information. RSC staff must verify that the person
                 contacting them is indeed the PA, PA´s Guardian, Anchor, or the PA’s authorized POC.
                 Whether communication with the applicants is via phone, walk-in or email, RSC staff must
                 verify at least three out of the following six questions:
                              1. PA’s WRAPS case number
                              2. PA´s AOR case file number



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                                3.   PA’s date of birth
                                4.   PA’s place of birth
                                5.   PA’s father’s or mother´s name
                                6.   Names of applicants registered on the PA’s case

        Consulting

        Standard introduction
        The standard introduction to applicants, whether by email, phone or in person must include:
            • Sharing with applicant RSC staff first or “false” name (if not using real name for security
                reasons)
            • Verification of the applicant’s identity
            • Important reminders for applicants if needed regarding important CAM specific
                announcements. Example: reiterating to applicants the need to inform IOM of any changes
                in contact information

        Communications Unit must use a standardized consulting template to answer any queries. For any
        new scenario and questions when the Communications Unit staff does not have a clear response,
        staff must consult the relevant unit focal person or Supervisor for guidance.

        Receiving phone calls

        RSC Latin America Communications Unit will receive calls during standard working hours in all 3
        locations.
        Upon providing the applicant with the standard introduction and successfully confirming the caller’s
        identity, RSC staff are required to give the applicant the time and space needed to express his/her
        message freely and without interruption. Once the applicant relays the message, RSC staff must
        respond to the applicant based on the standardized consulting template below.

             •   Applicant inquiries that do not have a response on the standardized consulting template
                 must be reported to the Communications Focal Point and Project Officer via email so the
                 Supervisors can update the standardized consulting templates accordingly.

        Adding a new phone number on a case

             •   Whenever Communications Unit receives a request from applicants to add a new phone
                 number on their case after verification of the identity of the applicant, they should capture
                 the new information in WRAPS using the following three steps:
                     1. Add the new number to the contact tab.
                     2. Create a new contact log reflecting the communication.
                     3. Leave a comment in the comment section ¨updated phone number¨.

             •   When a case is RFD, changes should be made in WRAPS. An e-mail should be sent providing
                 the case number and new phone number to both Operations staff and Pre-Departure
                 Services. This avoids delays in the case.
             •   After PS completion, a new phone number update on a case needs IAC re-requested at any
                 stage of case processing. When Communications staff change the phone number, this is
                 automatically flagged on a daily report to the relevant units so they can re-request IAC. No
                 further action is needed from Communications staff when an IAC Bio-Diff is created.




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        Email correspondence with applicants

        El Salvador Communication unit is responsible for responding to emails received at: RSC Central
        America Info RSCCAInfo@iom.int . El Salvador Communications unit will take first action on any
        email received and will try to provide resolution. In the event that the El Salvador team won’t be
        able to provide resolution, ES COMM will defer to HO or GT COMM units in order to follow up.
        When communicating with applicants via email, RSC staff must include in the email signature the
        following message, in both Spanish and English: All resettlement services are free of charge. Report
        suspected fraudulent activity to: FraudRSCLatinAmerica@iom.int. For case status email inquiries,
        please ensure that you include your RSC case number, and that your email is registered with IOM.

         When Communication Unit receives emails with inquiries. COMM staff must:
           • Reply with the verification of identity email:

        “Thank you for contacting the Communications Unit of Resettlement Support Center (RSC) Latin
        America, which is operated by the International Organization for Migration. Before we address your
        inquiry, please answer 3 of the following questions so we are able to verify your identity:
            1. Case number (PA’s WRAPS case #)
            2. Contact number
            3. Date of birth
            4. Place of birth
            5. AOR Case File ID Number
            6. Father’s or mother´s name
            7. Names of applicants registered on the PA’s case”

             •   After verification of identity, RSC staff must respond based on the Common Inquires
                 Response Template/Format/Sheet. Please refer to consulting templates and select the
                 appropriate response template.
             •   If the applicant does not reply within three working days, RSC staff must call the PA using the
                 phone number registered in WRAPS. Each individual staff member is responsible for keeping
                 track of these pending responses.
             •   Applicant inquiries that do not have a response on the standardized response sheet must be
                 reported to the Focal Point and Project Officer by email in order to update the standardized
                 response sheet accordingly.
             •   For inquiries from applicants with PAR status that were notified already please send it to
                 operations unit for HO to the email iomtguinfo@iom.int for ES to the email
                 iomsvinfo@iom.int, if the cases have not been notified COMMS unit have to answer query.

        After PS completion, a new email update on a case needs an IAC re-request at any stage of case
        processing. When Communications staff change email address, this is automatically flagged on a
        daily report received by all relevant units so they can re-request IAC. No further action is needed
        from Communications staff.

        Walk-ins
        RSC Latin America Communications team will be available to receive walk-ins hours will be
        designated by each CAM country.
        Communications staff should attend to walk-ins within 30 minutes of their arrival, unless during
        lunch hour. Walk-ins will generally not be received if they arrive less than 30 minutes before office
        closure.




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        Upon providing the applicant with the standard introduction and confirming the visitor’s identity,
        RSC staff are required to give the applicant his/her safe space and sufficient time for expressing
        his/her message freely and without interruption. Once the applicant relays the message, RSC staff
        must respond to the applicant based on the standardized response sheet. Please refer to consulting
        templates below. They must also leave the appropriate comment and update the contact log
        selecting the reason as: visit.

        Contacting applicants for follow-up
        If RSC staff need to contact an applicant over the phone or emails to follow-up or gather any
        additional information on a case, this should be done through the Communications Unit.
        The respective unit/staff member has to send an email request with the necessary query that needs
        to be confirmed to the Communications units:
             • For ES to RSC LA Communications rsclacommunications@iom.int
             • For HO to RUIZ Julia juruiz@iom.int and FLORES Max mflores@iom.int with Copy to VEGA
                 Nathalia nvega@iom.int , JOVEL Hugo hjovel@iom.int , VUNDERINK Tracy
                 tvunderink@IOM.INT and CORNEJO Eduardo ecornejo@iom.int .
             • For GT: MONTERROSO Vitorio VMONTERROSO@iom.int with Copy to , VUNDERINK Tracy
                 tvunderink@IOM.INT and CORNEJO Eduardo ecornejo@iom.int .

        The Communications Unit will call the applicant to confirm/gather the necessary information and
        reply back to the respective RSC staff email.

        Request for Expedite
        If the Communications Unit receives a call/visit/email from Qualified Child (QCH), describing a
        possible reason for expedite, the Communications Unit should record the information and submit
        that by email using the Expedite Form to the Child Protection team at the RSC LA Child Protection
        group email (rsclachildprotection@iom.int).

        If the Communications Unit receives a call/visit/email from Qualifying Parent (QP), Anchor, and/or
        Guardian (GU) describing a possible reason for expedite, the Communications Unit should try to
        contact the Qualified Child in order to get more detailed information, record the information and
        submit that by email using the Expedite Form to the Child Protection team at the RSC LA Child
        Protection group email (rsclachildprotection@iom.int).
        If the Communications Unit receives an email from an RA the Communications Unit should try to
        contact the Qualified Child in order to get more detailed information, record the information and
        submit that by email using the Expedite Form to the Child Protection team at the RSC LA Child
        Protection group email (rsclachildprotection@iom.int). Moreover, they should reply by email using
        the Expedite template to the RA so the RA is informed it has been flagged to Child Protection. (Refer
        to Expedite SOP for details).

        Receiving additional documents (other than Change of Address forms)
        Documents received by email or in person from the applicants are handled by the Communications
        Unit and forwarded as required to different units.
        Pre-USCIS cases:
            • Case before QC - send the documents via e-mail to the Caseworker and cc the Senior
                Caseworkers.with the subject: CW Pending documentation – Case Number
            • QC completed and before RAVU FWD - send the documents to the Program Access
                distribution list RSCLAInprocessing RSCLAInprocessing@iom.int for further action to be
                attached in WRAPS and physical file. .with the subject: PA Pending documentation – Case
                Number



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             •   QC completed and RAVU FWD - send the documents to the Adjudications distribution list
                 RSC LA DHS Support rscladhssupport@iom.int with the subject: AD Pending documentation
                 – Case Number

        Post-USCIS cases
            • If the case was already interviewed by DHS, but the case is still pending decision (USCIS
               reading NOD) or conditionally approved - send the documents to the Adjudications
               distribution list RSC LA DHS Support rscladhssupport@iom.int with the subject: AD Pending
               documentation – Case Number
            • If the case was already interviewed by DHS, and the case was approved (USCIS status in
               WRAPS is REF) - send the documents to Pre-Departure Services RSCLAOutprocessing
               RSCLAOutprocessing@iom.int . with the subject: PD Pending documentation – Case
               Number
            • If the case was already interviewed by DHS, and the case was offered Parolee status (USCIS
               status in WRAPS is PAR) - send the documents to the Parole focal point in Operations. IOM
               San Salvador Info iomsvinfo@iom.int , IOM Tegucigalpa Info iomtguinfo@iom.int or IOM
               Guatemala Info iomgtinfo@iom.int

        USCIS Decision Counselling
        The report Post_CIS_Cases_For_Notification will be receive everyday with the USCIS decision list
        Scheduling team will prepare the schedule for decision notification and call applicants to invite them
        for those appointments. Refugees will be prioritized for the first appointments over Parolees and
        Denied.

        Process flow
        By Scheduling:
            • Applicant is called and Contact Log is updated by selecting: Post-INS Interview > Phoned out
            • WRAPS Comment to be updated as PA contacted for DHS Result on date at time
            • Scheduling will send the schedule to Comms
        Communications part:
            • They will hand over the decision letter and inform applicant about next steps to follow.
            • Contact Log is Updated by selecting: Post-INS Interview > Visit
            • WRAPS to be updated using formatted comment: PA notified about REF/PAR decision

        How to place a formatted DHS decision comment:

        032015 LMS: PA notified about xxxxxxxxxxxxxxxxxx <USCISDecisionStart>03 Dec
        2015<USCISDecisionEnd>

        Where the xxxx means the result. Examples:

             •   03 Dec 2015 LMS: PA notified about approval decision <USCISDecisionStart>03 Dec
                 2015<USCISDecisionEnd>
             •   03 Dec 2015 LMS: PA notified about denial decision <USCISDecisionStart>03 Dec
                 2015<USCISDecisionEnd>
             •   03 Dec 2015 LMS: PA notified about parole decision <USCISDecisionStart>03 Dec
                 2015<USCISDecisionEnd>
             •   03 Dec 2015 LMS: PA notified about hold decision <USCISDecisionStart>03 Dec
                 2015<USCISDecisionEnd>




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             •   Please make sure you do not add any space or additional character between the <>signs.
             •   Between <USCISDecisionStart> and <USCISDecisionEnd>, you should add the date when you
                 notified the applicant (you can add spaces)

        The Communications team will be in charge of counseling applicants on the date of the
        appointment, handing over the decisions letters and providing advice on a case by case basis
        Communications staff will normally distribute the decisions in person and handle applicant´s queries
        and guide them on case by case scenario. As exceptions, if the applicant is RFD or if the applicant
        was Denied and represents a potential security issue for RSC staff, then the Communications unit is
        able to provide a decision notification over the telephone.

        USCIS Approved: USCIS status reading REF
        Applicants will be called to IOM office for counseling to receive their decision letter and will be
        advised on the further processing. Refer to counseling template in the Appendix for details.
        In order to provide REF decision COMMS staff must check that DNA TAB is on POS status and the
        case is Active.

        Case summary screen for USCIS REF cases




        USCIS No Decision: USCIS status in WRAPS reading NOD
        When there is No Decision made by DHS that applicant is not contacted. If applicants inquire
        about their decision by phone or e-mail, Communications staff counsel PA that his/her case is
        awaiting USCIS decision as the final decision has not yet been made. Once the final decision
        information is received from USCIS (by Adjudications Support), the Communications Unit will
        update them on the final decision of their case.

        Case summary screen for USCIS NOD cases




        USCIS Denied: USCIS Status Reading PAR/DEN
        Case Availability = Closed

             •   Applicants will be called over phone by Scheduling Unit to come to the office to receive
                 decision letter and RFR from Communications Unit.
             •   If there is a security concern then applicants may also be notified over the telephone.
             •   They will be counseled using the Parolee Counseling script. After they receive their
                 letter and RFR, they will then have a group orientation by Operations staff.

        Case summary screen for USCIS PAR cases



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        Case summary screen for USCIS DEN cases




        Request for Review
        The Scheduling unit will call cases that have been denied and invite them to IOM office, as long as
        there is no security risk. Communication staff will provide counseling and hand the denial letter and
        RFR tip sheet to the applicant. However, if the case was denied because of security concerns, the
        Communications team will call the applicant to notify them about the decision and send the decision
        letter –and RFR tip sheet- by e-mail if possible. In order to differentiate the reasons for denial,
        Communications staff must check in WRAPs the reasons for denial to identify if the cases have a
        potential security risk for RSC personnel (when providing the decision). Example: case denied for
        gang affiliation. This will appear in the Post-CIS Notification report.

        Applicants who were Denied or Paroled may decide to return with the RFR to the IOM office. In that
        scenario, no appointment is needed. Communications staff will receive the RFR, review it, translate it
        if necessary and update the visit in Contact Log and leave case comments. Case comment should
        read as follows: 03 Mar 2016 ECA: RFR received and sent to Adjudications.

        Applicants can submit the RFR in English or Spanish, must explain the reasons for reconsideration,
        must have the applicant’s case number, full name and signature. If it is not in English, Comms staff
        should translate if it does not contain the reasons for reconsideration, the Communications team
        cannot accept it and should ask the applicant to re-submit the RFR. Emphasize to the applicant that:
        they must submit the RFR within 90 days after the decision notification appointment if they don’t
        ask them to include an additional reason to deliver the RFR out of the 90 days period.

        The RFR should be scanned and sent by email to DHS Support and the original should be given
        directly to Adjudications unit.
        Points to note:
            • The RFR has to be signed by PA or guardian if minor is under 14 years of age.
            • Staff is to inform the PA that unfortunately RSC cannot provide them the exact timeline
                 when we will receive the updated information on their case. As soon as we receive any
                 updates on their case, RSC Communication Center will contact them.

        Contact Log and WRAPS
        Contact Log
        The WRAPS Contact Log should be filled every time the Communications Unit contact with or tries to



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        reach (unable to contact) an applicant, Resettlement Agency, or Anchor. Please refer to Contact Log
        Guide for details on updating the Contact Log.




        The WRAPS case summary comment box is to be updated whenever any important communication
        occurs with an applicant at any stage of the process. Example: The applicant calls to say she is
        pregnant or calls to report threats made against her/him.

        Adherence to the PRM Integrity Guidelines, including Section 8 mentioned below is mandatory for
        all RSCs. IOM will take disciplinary action against any breach in the PRM Integrity Guidelines and
        other relevant mandatory guidelines.

        PRM Guidelines on Communication with Refugees, updating contact log:
        “Communication with Refugees

        a) Any contact (i.e. email, phone call, letter, or visit outside of normal interviews) with an applicant
        and/or a designated third party must be done using phone numbers and/or email addresses
        registered in WRAPS. Each contact with an applicant must be recorded in the WRAPS Contact Log.
        b) All written communication and informational material must indicate that the USRAP is free of
        charge and provide details on how to report any fraudulent activity. This may be done in an auto
        signature on emails.
                 • Best practice includes wording to the effect of “USRAP is Free” or “All resettlement services
                 are free of charge” on all email address signature lines.

        c) Provide refugee documents on RSC letterhead to demonstrate authenticity.
        d) Make case-specific information available to refugees by email, secure website (if available), mail,
        in person and/or phone.”

        Communicating with Resettlement Agencies and Anchors/Guardians
        Email enquiries
        All email correspondence between the Resettlement Agencies and Anchors/Guardians is to be
        handled by the Communications Unit in El Salvador.
        All correspondence must be based on the standardized correspondence templates (refer to
        Appendices).
        When an email query is received on a case and there is no standard template applicable to the query
        the staff member should analyze the case. Before sending out the response, when the response is
        not standard, it is important to ask for advice from the Sr. Project Assistant and Project Officer,
        Communications and any other senior supervisors in related units (when applicable).



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        •    E-mails should always come from the generic e-mail address RSC Central America Info
             RSCCAInfo@iom.int
        •    Email subject line should be clear and concise. Ex. Case GT-100222: Travel to the US
             • Case number and/or AOR case file ID number – should be mentioned while doing case by
                case communication
             • Name of the specific RSC activity which they are being notified of, including the Date/Month
                of the appointment (refer to Appendices for the template).

        RSC notification activities for Resettlement Agencies

        The Communications Unit is responsible for sharing the list of cases which are scheduled at different
        stages of the process to the corresponding RA. Communications unit must email notifications
        regarding: Prescreening, DHS interviews and results, DNA, Medicals, and CO.
        Communications Unit must use generic templates to share schedules: Eg: AOR - Pre Screening
        Schedule for Central American Minors to notify RA (see Appendices for all different stages schedule
        templates).

        Enquiries from RA/ Anchor
        •All the RA emails queries on cases to be handled by the Communications unit. See Appendix for FAQ
        from RA.
        •Emails with enquiries received from a RA/Anchor or any other institution to be handled by RSC
        Central America Info RSCCAInfo@iom.int
        •The Communications Unit can contact the Anchor in the US to provide information about the
        process, if they cannot reach the applicant or Guardian in the country of residence. The
        Communications Unit can also contact the RA asking for a new phone number for the applicants.

        Change of Address (COA)
        If an Anchor provides a Change of Address form (via the RA):
        • If the case has not been prescreened yet, Communications will update the case in WRAPS
        • If the case was PS already and DHS is not SCH yet, Program Access will change it
        • If the case is DHS SCH, but no decision has been made yet, DHS Support will change it
        • If case is REF, Pre-Departure Services will change it
        • If case is PAR, Operations will update their records accordingly
        • The Communications Unit is responsible for forwarding the COA to the appropriate unit.

        Pending RA Clarification

        Whenever another unit flags to Communications that a case required some type of clarification from
        the RA, Communications staff in El Salvador will send an email to the RA using the appropriate
        template.

        Typically, the Scheduling unit is told during an appointment call some relevant information that
        needs to be checked, such as: the PA has fled to the U.S. Scheduling is then responsible to leave a
        comment, add the CAR: Pending RA Clarification and send an email to Communications who then
        puts the case on Hold. If it is not updated in WRAPS, Communications must put the CAR= Pending
        RA Clarification. Once we have placed this CAR, the cases with this CAR will then appear in the
        report: Follow up with RA.

        In order for the RA to understand the reason for the follow up, the Communications staff will use the
        Contact log reason: Deadline Warning and then write a short sentence which concisely describes the
        situation the RA must respond to. Ex. “Confirm: PA has fled to the U.S. This appears as a column in



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        the report for the RA to quickly understand what action is required for clarification to RSC. In order
        to send the chart to each respective RA, the Communications staff will download each workbook and
        encrypt using the password applicable to each RA. These will be emailed as attached encrypted
        document and the appropriate template will be used in the body of the email, these will be emailed
        to each RA. These are mailed every Monday to the RAs.

        After sending these reports to the RAs, the person responsible must enter the comment: follow up
        email sent to RA. They must also update the contact log. After 6 attempts to receive information
        from the RA, the case will be flagged to Program Access to be closed.


        Withdrawl/Non Willing to attend Appointment

        •    If the Applicant or Guardian inform that the QCH is/are non-willing to continue with the process
             and the QCH is/are still in Central America, the Communications unit should provide counseling
             and invite the applicants to sign a withdrawal letter (Ref to templates). The letter to be uploaded
             by the Communications team in WRAPS and to flag this to the corresponding unit depending
             where Applicant is in the process. Appropriate comments should be left in the comment log.
        •    If the applicant is non- willing or unable to approach IOM to sign the form (because for ex.
             He/she is in the United States already, detained in migration, etc.), the Communications team
             will flag this the corresponding unit and send an email to the RA to confirm this information,
             leaving the corresponding comment in WRAPS. Use the template: Non-willing –unable to attend
             appointment (pg. 39).
        •    Once confirmation is received from the RA, the Communications team will forward email to the
             corresponding unit to close the case.
        •    If an Anchor informs by phone or e-mail they are unable/unwilling to attend, the CAM
             Communication staff must flag this to the corresponding unit depending where Applicant is in
             the process the. Communications must send an email to the corresponding RA in order to have
             a written confirmation to upload into WRAPS. The RA written reply should be forwarded to the
             corresponding unit depending where in the process the Applicant is in order to close the case,
             and they will upload the e-mail into WRAPS.
        •    Applicants who have traveled previously to the United States should be encouraged (not
             obligated) to bring deportation documents to PS and to DHS interviews. This should be
             requested by the scheduling team, though the communication team can reinforce this
             information during regular communications with applicants

        Guardian Authorization (other than the one listed in the AOR)

        If a Guardian that is listed on the AOR cannot attend an interview, and the PA is under 18 years, the
        Communications unit needs to confirm with the Qualifying Parent, through the RA, that someone
        else (name and relation provided by the applicant) might accompany the child.
        The Communications unit has to forward to the RA, the detailed information of the new guardian,
        including full name and their relationship to the PA.

        Even though this information is provided by the Qualifying Parent, the Communications Unit must
        send an email to the corresponding RA in order to have a written confirmation to upload into
        WRAPS.

        Use the template (see Appendix: Request for Guardian Authorization-other than listed on the AOR).

        Even if the other parent is in the country, but if they are not listed on the AOR as the guardian, RSC




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        should follow the procedure outlined above.
        Once the response is received from the RA:
           • Convert email message into PDF file and upload it into WRAPS as Important
                Correspondence. File naming should be as: Casenumber_1_RA_COR. Example:
                ES100021_1_RA_COR
           • Upload documents into WRAPS using the file, Upload Photo and PDF, that should be on the
                computer desktop.
           • Search the PA´s case in WRAPS to find the document that has been uploaded, go to
                Casework: link Scanned Images, find the file, correct title: Important Correspondence, and
                submit to upload in WRAPS Scanned images.
           • Update the case comments, using standardized comments:
           • Example: 15 Sept 2015 MIS: guardian listed on AOR cannot attend the appointment due to
                (out of the country, health issues). XXXXX (add relationship with the PA) was authorized by
                the ANCHOR to attend with the minor.
           • The Communications staff member should also remove the CAR and Hold. If the case was
           • If the QCH shows up with a different GU than the one listed in the AOR the day of the
                appointment, Communications must call the Qualifying Parent to confirm this information.
                Then complete the steps above.
           • If the guardian change is permanent, the Communications Unit should email Guardian
                authorization received from RA to the Program Access Team for their information however
                Communications will upload the document.

        Downgrades
        A downgrade is changing a hard-cross reference to a soft cross reference. This is executed whenever
        a case(s) in the loop move forward, but another case(s) cannot. Downgrades are flagged largely by
        Pre-departure services to Communications, however this can be flagged by another other unit
        including Operations.

        To perform a downgrade, Communications unit will contact the applicants to have them come into the
        office and sign a STATEMENT OF X-REFERENCE STATUS CHANGE (located: R:\Communications\INFO
        Unit). When contacting the applicants by telephone, Communications staff must explain what is the
        function of a downgrade and if they would be interested to discuss the situation/sign.

        When the applicants arrive, Communications staff need to prepare the Statement (writing the
        names/case numbers into the template). Staff will explain the purpose of the downgrade in general
        terms and make sure they fully understand the purpose and it is optional/voluntary. After they agree
        to sign, scan and email to the unit requesting the downgrade. Place comments… The original copy
        should be handed over to the File Room to place in the physical file.

        Present requirements for downgrades are constantly changing. We must ensure to have the most
        up to date information and if in doubt, staff can check with Focal Point, Communications and he/she
        may forward to Project Officer, Pre-Departure services for further advice.

        Closure letters
        Closure letters are received via email from Program Access. These are forwarded in a group to the
        respective Resettlement Agency. They should be password protected when being sent to the RA.
        Communications staff must use the appropriate template.




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         Reports
        All reports will be sent to Resettlement Agencies monthly for follow-up these include:
              • Pregnancies and Follow up
              • Cases Pending Documents
              • DNA Follow up with RAs
              • CAM Follow up with RAs (Pending Amended AORs both pre and post prescreening)

        When an Amended AOR is needed the respective unit will add the CAR: Pending Amended AOR. The
        cases with this CAR will be generated in the report: Follow up Pending Amended AOR for
        Communications to take action.

        On Mondays the reports: Follow up Pre Pscn and Follow up Pending Amended AOR will be sent
        broken down by RA. Once received, Communications staff will then download each workbook and
        encrypt using the password applicable to each RA. These will be emailed as attached encrypted
        document and the appropriate template will be used in the body of the email, these will be emailed
        to each RA. These are mailed every Monday to the RAs.

        The report: DNA follow up, is received every Friday. Once received, Communications staff will then
        download each workbook and encrypt using the password applicable to each RA. These will be
        emailed as attached encrypted document and the appropriate template will be used in the body of
        the email, these will be emailed to each RA. These are mailed every Monday to the RAs.

        Passwords assigned to each RA have been sent to the RAs and are saved in the R:\Communications.
        These will be used for the calendar year 2017.




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        Appendixes

        Appendix 1: Existing Reports Pertaining to Communications staff
          •   LV2 cases in Pipeline Weekly Report
          •   Running report of PEN cases with CAR=Pending PRM authorization for M4 cases
          •   Monthly minor reports
          •   USCIS scheduling use two reports from a link as needed: Clear Cases and Not CLR
          •   Cases ready for PS in Iraq report runs cases for Pre-Scheduling Unit schedules
          •   BGH Ready For DHS: for USCIS Scheduling
          •   BGH Ready For DHS 2: for USCIS Scheduling
          •   RSC MENA Weekly Report/Minors: To track M4 minors from the day the case is created until it
              departs.
          •   M4 RFD SCH NOA & STO Travel Report: captures RFD minor cases in order to give OPS heads
              up to prioritize booking these cases.
          •   QC Minors Post DHS Cases: reflects minor cases in all statuses; we only take action on the RFD
              minors that are not yet assigned on ABNs.

          •   LV2 Assurance report: upgrade urgency to LV2 for all cases that will flip to RFD once assured.

          •   LV2 Cases on long term hold: QC report to make sure LV2 cases are being processed.

          •   LGBTI case for EG: upgrade urgency to LV2.

          •   Yazidi Post USCIS Caseload: flip urgency to LV2.

          •   Assurance RSC Expedite Assurance NOA: request assurance for expedited cases.

          •   SAO Expedite List: captures cases that might benefit for expediting SAO.

          •   IAC Request ASR not NOA (Expedite Sheets): captures cases that might benefit for expediting IAC.

          •   Security SAO Expedites-NOD Cases: captures cases which are NOD/CW that might benefit for
              expediting SAO.

          •   Detailed SAO Report by days pending: captures cases which have a long time pending SAO in the
              SAO expedite list.

          •   Security TFP NOD Expedites: captures cases that might benefit for expediting TFPs.

          •   Pending One Variable report: captures cases that have one variable pending which we review and
              check whether that field can be expedited or not.




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        Appendix 2: Email Templates
        Pre-screening

             INFORM ABOUT PS APPOINTMENTS

        Subject: AOR - Pre Screening Schedule for Central American Minors – IOM (Add Country)

        Dear colleagues,

        Below you will find the schedule for the pre-screening interviews for the CAM program related to your
        resettlement agency. The interviews will be conducted by RSC Latin America caseworkers on the time
        and date indicated on the chart.
        (Add chart)

        IOM XXX address is the following:

        Phone number: +

        Please also note that the applicants are instructed to bring all their personal identity documents. For
        the applicants under 14 years old, it is mandatory for them to attend the interview with their guardian
        (as listed on the AOR). For those 15-17 years of age the guardian must accompany them, but need
        not attend the interview. The guardian must bring an identity document as well. Kindly note that if
        the guardian listed on the AOR is unable to accompany the qualifying child to the appointment for any
        reason, the applicant must inform RSC ahead of time.

        Kind regards,
        (Add Info signature)




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        DNA

             INFORM ABOUT DNA TESTING

        Subject: DNA Testing for Central American Minors – IOM Add Country

        Dear colleagues,

        Below you will find the case(s) that will have their DNA test(s) in XXXX. This will take place in our
        offices on the time and date indicated on the chart. The QCH has been told to bring his/her/their
        identity documents. For the applicants who are under 18 years of age, it is mandatory for them to
        attend with their guardian, also listed on the chart below.

        The guardian needs to bring an identity document as well. Kindly note that if the guardian listed on
        the AOR is unable to accompany the qualifying child to the appointment for any reason, the applicant
        must inform RSC ahead of time. Otherwise, the testing cannot take place and their appointment will
        be cancelled.

        (Attach chart as an encrypted document)
        The address is as follows:
        (Add address and phone numbers)

        If you have any questions, please do not hesitate to contact us.
        Kind regards,
        (Add Info signature)

             Delay in DNA process

        Subject: Delay in DNA Process for Central American Minors – IOM Add Country


        Dear Colleagues,

        For the purpose of avoiding further delay in processing, we are writing to inform you that the cases in
        the attached report have not completed the DNA process.

        The first tab of the report lists the cases for which we have not received the DNA kits for testing. The
        DNA request letters should be uploaded in your DNA Testing Required Letters folder on the RPC
        Website.

        Please note that the Anchor needs to receive the letters for all the cross-referenced cases biologically
        related to him/her before starting DNA testing. We encourage you to follow up with the Anchor(s) in
        the U.S. to initiate the DNA test as soon as possible. As a reminder, the case will be closed if we do not
        receive the DNA kit by the deadline of 180 days.

        On the second tab, the DNA kits were completed and shipped back to the labs, but we have not
        received the DNA results. Could you kindly assist us in encouraging the Anchors to contact the labs
        directly regarding the pending DNA results? Otherwise, their cases cannot continue to process.
        For another copy of the DNA letter or to send in the DNA results and receipts, please write to RPC at
        DNAresults@wrapsnet.org.

        If you have any further questions, please do not hesitate to contact us.



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        Best regards,


             DNA Test Pending Balance

        Subject: Pending DNA Balance

        Dear colleagues,

        The following cases were reported with pending balances for DNA tests. In order for the cases to
        continue with the process, we kindly ask you to discuss with the Anchor(s) the possibility for them to
        pay the pending balances as soon as possible

        Best regards,


                 Missing DNA Letter

        Subject: Missing DNA Letter

        Dear Colleagues,

        Could you please verify, that the DNA request letter has been posted to your folder and sent to the
        Anchor for case xxxx.

        Note
           •     Template will be addressed to:
                       RA with RPC cc´ed DNAresults@wrapsnet.org' on it and RSC DNA bcced
             •   It should be used when the Anchor does not have the DNA letter and it’s been more than 3
                 weeks after PS interview.
             •   If the RA responds they do have the letter but they have not sent it.
                       No action on our side is required
             •   If the RA responds they do not have the letter. The response should be as follows:
                       Dear RA Colleagues,
                       Thank you for your response
                       Dear RPC Colleagues,
                       Could you please follow up on this.




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        DHS

             INFORM ABOUT DHS APPOINTMENTS

        Subject: DHS interviews schedule CAM Program- IOM (Add Country)
        Dear colleagues,

        Attached you will find the schedule for the DHS interviews for the CAM program. The interviews will
        be conducted by DHS officers at our offices in XXXX, on the day and time indicated on the chart.
        IOM XXX address is the following:
        (Add address)

        Please note that the applicants have been previously instructed to obtain a passport and a recent
        criminal and police record (if they are 18 years of age and above). They will need to bring these
        records to the interview as well as all their identity documents (birth certificate for underage
        applicants). For adults attending their interview, they will also be instructed to bring any marriage/
        divorce/death certificate, if applicable. Furthermore, all QCH need/s to be accompanied by
        his/her/their guardian, this person needs to bring an identity document as well.

        The interviews could take several hours, and the QCH may not be able to return home on the same
        day. This is why the applicants were advised to be prepared for the possibility of having to spend the
        night in XXXX.

        We hope this information is useful for your purposes. Please do not hesitate to contact us if you have
        any questions.

        (Attach encrypted chart)
        Kind regards,
        (Add Info signature)

             NOTIFICATION AFTER DHS INTERVIEW – CAM PROGRAM

        Subject: Notification after DHS Interview – CAM Program

        Dear colleagues,

        As we enter the next stage of the CAM Program, the applicants that went through the USCIS interview
        can now be informed about the results. Our team is currently contacting the QCH to schedule an
        appointment at our offices in XXXX, to receive the USCIS decision letters and information about the
        steps to follow. Attached you will find the cases related to your resettlement agency who have been
        invited to our facilities at the time and date indicated on the chart.

        Please be informed that the applicants are instructed to be accompanied by their guardian or the
        person authorized by the anchor (if other than listed on the AOR). All attendants need to bring an
        identity document.

        (Attach encrypted chart)
        If you have any questions, please do not hesitate to contact us.

        Kind regards,
        (Info signature)




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        Medicals

             INFORM ABOUT MEDICAL APPOINTMENT

        Subject: Medical Appointment – Central American Minors Program IOM (Add country)

        Dear colleagues,

        Please be informed that the following case(s) will have his/her/their medical exams on the time and
        date indicated below. Please note that the applicants do not have to pay for any medical costs. The
        results will be delivered to the IOM directly by the panel physician. If there is any significant medical
        condition, the doctor will contact the applicant directly. Please be informed that the applicants are
        instructed to be accompanied by their guardian or the person authorized by the anchor (if other than
        listed on the AOR).

        The applicants have been instructed to bring the following documents:
            - Identity documents
            - Medical prescriptions or medication (if applies)
            - If they have had any surgeries, the applicants need to bring the corresponding information
            - For pregnant women, they need to bring the corresponding exams
            - For new born babies, the mothers need to bring the delivery dates
            - For El Salvador cases in which the QCH is 13 years old or under, legal consent from the parents
               in which they authorize the guardian to accompany the minor to the appointment (original
               document)


        The address where the appointments will take place is as follows:
        (add clinic or hospital address)

        If you have any questions please do not hesitate to contact us.

        Kind regards,
        (info signature)

        Cultural Orientation

             CULTURAL ORIENTATION SESSION

        Subject: Cultural Orientation Session – CAM Program – IOM (Add country)

        Dear colleagues,

        As we the CAM Program moves forward, the below cases may now attend a Cultural Orientation (CO)
        class at our offices in San Salvador from XXXXX . Those invited are to arrive each day at the IOM office
        by 8:00am and will attend until approximately 4:00pm. CO is a 3-day class where they will be provided
        information and can ask questions about their new life in the United States. This includes information
        about their journey, their first days after arrival, the education system, employment, health care, etc.
        Only applicants who are 14 years and above are invited to attend the class. If needed, Minors may be
        accompanied by their guardian or the person authorized by the anchor (if other than listed on the
        AOR) to arrive at the class. Guardians however are not able to attend the class, they will be asked to
        return when the class has been completed for the day.


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        Depending on the applicant’s travel, they may need to make arrangements to arrive the day
        before. Lunch will be provided to those attending the class. Applicants are encouraged to bring
        sufficient funds for their own transportation, as IOM will not cover these costs.

        For applicants with children, we recommend that they leave their children with a care-giver, in order
        for them to fully benefit from the class.

        (Attach encrypted chart)
        If you have any questions, please do not hesitate to contact us.

        Kind regards,
        (Info signature)




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        Other Templates

             REQUEST UPDATED PHONE NUMBERS FOR APPLICANTS

        Subject: Case(s) unable to contact - Central American Minors Program – IOM Add Country

        Dear colleagues,

        Below you will find the case(s) that our team has not been able to contact. We kindly ask you to
        provide us with a different phone number for us to inform the applicants about their upcoming
        appointment. Kindly note, that after 6 months of inability to contact an applicant the case will be
        closed.

        Thank you for your help.
        Kind regards,
        (Add Info signature)

             REQUEST FOR GUARDIAN AUTHORIZATION (OTHER THAN LISTED ON THE AOR)

        Subject: Guardian authorization for case(s) XXXX DNA appointment/AOR - Pre-screening
        interview/DHS interview/Medical exams (choose accordingly)

        Dear colleagues,
        Our team contacted case(s) XXXX for his/her/their DNA appointment/AOR - Pre-screening
        interview/DHS interview/Medical exams (choose accordingly). The applicant/guardian/anchor has
        informed us that the guardian listed on the AOR will not be able to accompany the QCH to the
        appointment. We kindly ask you to confirm that the QCH’s (add relationship) NAME is authorized to
        accompany him/her/them.

        Thank you for your help.

        Kind regards,
        (Add Info signature)

             Authorization needed / Non-willing/Unable (choose accordingly) to attend appointment


        Dear colleagues,

        Please be informed that our team has contacted case XXXX, whose guardian/anchor/applicant
        informed us the following:
        (Add information. Send draft to your supervisor)

        The guardian/applicant isn’t willing/is unable to attend the appointment. We kindly ask you to verify
        this information with the anchor and revert within 1 month. Please note that if we do not get the
        confirmation the case will be invited to the interview again and will be closed if the applicant fails to
        attend.

        Thank you for your help.

        Kind regards,
        (Info signature)



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                 Cancel and/or re-schedule appointment

        Subject: Cancel/ re-schedule appointment for (PS, DNA, choose appointment) - Central American
        Minors Program IOM (Add country)

        Dear colleagues,

        Please be informed that due to
        (explain the reasons in general terms/ unforeseen events)
        the following appointments will be cancelled as previously announced and re-scheduled for the time
        and date indicated below (if it has been re-scheduled). Kindly inform the concerning parties.
        (Add chart)

        Kind regards,
        (info center signature)

                 Re-schedule appointment when PA was not able to attend previous appointment for
                 unforeseen events

        Subject: re-schedule appointment for (PS, DNA, choose appointment) - Central American Minors
        Program IOM (Add country)

        Dear colleagues,

        Kindly be informed that this case has been re-scheduled for the xxxx interview on the time and date
        indicated in the chart:

        (Attach encrypted chart)
        Best regards,

        (Info center signature)


             Case closure notification

        Subject: Case closure XXXX

        Dear colleagues,

        Please be advised that case XXXX has been closed. Attached to this email you will find the case closure
        letter. We kindly ask you to share this information with the anchor.
        Thank you in advance for your assistance on this process.
        If you have any questions, please do not hesitate to contact us.

        Kind regards,
        (Info signature)
        Attach case closure letter (done by In Processing)




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             Discrepancy letter notification

        Subject: Discrepancy letter notification

        Dear colleagues,

        Please be informed that a discrepancy letter for the following case(s) has been generated. In order for
        the case to continue with the process, we kindly ask you to discuss with the anchor once he/she
        receives the letter, if an amended AOR is needed. Please note that once the anchor receives the letter,
        he/she has 6 months to re-file an amended AOR. This AOR will retain the same date as the original
        one. If the anchor files the amended AOR after the 6 month period, this document will have the new
        filing date.

        If you are already aware of this, please follow up with the anchor to submit the amended AOR as soon
        as possible as we have not received it yet.
        If you have any further questions, please do not hesitate to contact us.
        Kind regards,
        (Info signature)

             Address discrepancy

        Subject: Address Discrepancy- Case#
        Dear colleagues,

        During pre-screening interview, the QCH on case ES-XXXXXXX disclosed:

        The Anchor changed his address however the QCH did not have the new address. (OR include the
        new address if we have it).

        Please confirm the address with the Anchor,

        Kind regards,
        (Info signature)

                 RAVU REJECTED CASES AND CASE CLOSURE

        Subject: Ravu rejected case/ case closure

        Dear colleagues,

        Kindly redirect your inquiry to rad-cams@uscis.dhs.gov ; USCIS is in a better position to answer your
        question.

        Kind regards,
        (Info signature)




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                 RAVU REJ and x-refs RAVU cleared

        Subject: closed cases and x-refs

        Dear colleagues,

        As you have been notified by USCIS, the following cases have been closed as per RAVU, however the
        x-refs can continue with the process.

        Could you please check with the applicants, if the x-ref case(s) are willing to continue or not with the
        process and tell them to contact our info center if they do not?
        (Attach encrypted chart with cases)

        Kind regards,
        (Info signature)


        Expedites

                 Providing Referrals

        Subject: case(s) XXX

        Dear colleagues,

        Please inform the anchor for case (s) XXX that we understand the dangerous situation the QCHs are
        experiencing. Therefore, we would like to provide him/her (choose accordingly) with the following
        referral contacts:

        (choose accordingly)
        - Consejo Nacional de la Niñez y de la Adolescencia (CONNA) for case(s) XXX as the QCH is a minor
        under 18; and
        - Instituto Salvadoreño para el Desarrollo de la Mujer (ISDEMU) contact for case(s) XXX as the QCH is
        a over 19 years old;

        These phone numbers are provided in case the QCH needs additional protection and social assistance
        while they are waiting on the outcome of their application in El Salvador. CONNA and ISDEMU can
        assess the gravity of the situation and then offer the appropriate level of assistance.

        Kindly be informed that we contact the QCH as well to provide this information,

        Best regards,

        (Info signature)




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                 REQUESTS TO EXPEDITE


        Dear colleagues,

        Thank you for notifying us of the situation of case X. The information provided will be reviewed and
        taken into consideration.

        Please let us know in the future, if there are any additional circumstances or information that needs
        to be brought to the attention of the RSC.

        Best regards,
        (Info signature)


        Follow ups


             Follow up regarding cases pending RA clarification

        Subject: follow up email

        Dear colleagues,

        We are following up on the case(s)in the attached document. In the last column you will find the
        information required by the RSC for clarification:
        (Attach encrypted chart)

        Please note that after 6 weeks of inactivity the case will be closed.

        Best regards,
        (Info signature)




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              RFR Tip Sheet




    Consejos para Solicitar una Revisión de las Decisiones de Condición de Refugiado del USCIS

        ¿Qué puedo hacer si el Servicio de Ciudadanía e Inmigración de los Estados Unidos (USCIS)
        rechaza mi solicitud de condición de refugiado?
        No hay recursos de apelación ante una negación de solicitud de condición de refugiado. Sin embargo,
        a su discreción, el USCIS puede tomarse la libertad de revisar un caso cuando se recibe una Solicitud
        de Revisión (Request for Review o RFR) a tiempo del solicitante principal o un tercero si el
        solicitante principal renuncia a sus derechos de confidencialidad. La solicitud debe incluir una o
        ambas de las siguientes:

        (1) Una explicación detallada de un error substancial por parte del oficial adjudicador; y/o
        (2) Nueva información que amerite un cambio en la decisión.

        Generalmente, el USCIS aceptará sólo UNA SOLICITUD que esté sellada por el correo o recibida por
        el USCIS en el lugar designado para este trámite dentro de los 90 días a partir del aviso de rechazo.
        La información sobre dónde debe ingresar su RFR aparece en este documento y en el sitio Web de
        USCIS, www.uscis.gov.
        ¿Qué hay que saber sobre la preparación de un RFR?
        La siguiente información es MUY IMPORTANTE, por lo que debe prestar cuidadosa atención a cada
        instrucción.
        1. Usted debe incluir el número de caso del Centro de Apoyo de Reasentamiento, que antes se
        conocía como el número de caso de la Entidad de Procesamiento en el Extranjero (RSC), en CADA
        UNA de las páginas que envíe.
        2. Su RFR debe contener una dirección de correo completa y válida (no simplemente un teléfono o un
        correo electrónico) donde se enviará la respuesta al RFR.

             3. El RFR debe estar escrito en inglés. Todos los documentos que sustenten su caso en su RFR
             deben estar traducidos al inglés.
              4. Los solicitantes principales pueden buscar la ayuda de otros individuos, organizaciones o
             abogados para preparar su RFR. Si necesita ayuda para completar su RFR, el nombre del
             individuo, la organización o el abogado que le ofrece la ayuda y su relación con el solicitante
             deben incluirse en su RFR. Todos los RFR deben estar firmados por el solicitante principal.
             5. Si el que envía un RFR a su nombre es un abogado, debe enviar un Formulario G-28, Aviso de
             Representación a través de un Abogado o Representante Acreditado, junto con su RFR. Si su
             RFR no se envía a través de un abogado, usted debe incluir también una carta declarando que
             renuncia a sus derechos de confidencialidad cuando envíe el RFR.
             6. Su RFR también debe dar explicaciones sobre las razones por las cuales se le negó la solicitud.
             A los fines de determinar las razones del rechazo, usted debe leer cuidadosamente la carta con la
             decisión o pedir que el personal del RSC se las explique en detalle.
             7. Si usted cree que se cometió un error en el proceso de decisión, tiene la obligación de ofrecer
             una descripción detallada de dichos errores. Si usted dispone de nueva información que puede
             ofrecer, debe incluir los detalles suficientes que le permitan al revisor tomar una decisión sobre su
             caso. Si la nueva información que ofrece contiene detalles sucedidos antes de la entrevista con el
             USCIS, usted debe incluir una explicación de las razones por las cuales no presentó dicha
             información en la entrevista inicial.


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              Travel Authorization Info Sheet




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              AOR and DNA Status in WRAPS




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              Point of Contact permission form




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